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Plaintiff. v § '§:MPH§S

   
 
 

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v. mm QMWD

 

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TIMOTHY MOORE,
Defendant.

 

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MOTION FOR DETERMINX'i`ION OF COMPETENCY TO STAND TRIAL

 

COMES NOW Defendant Timothy Moore, through his attorney of record Juni S.
Ganguli, and respectfully moves this Honorable Court for an examination to determine
his competency to stand trial. This request is made pursuant to 18 U.S.C. §4241(a). In
support thereof, counsel would show the following:

l. Mr. Moore is currently in state custody. He is housed at the Shelby County Jail

at 201P0plar Avenue, Memphis, Tennessee.

2. He has been unable to assist counsel in his defense heretofore

3. Counsel has recently learned that Mr. Moore has received mental health

treatment previously.

4. Attorney for the United States of America, Katrina Earley, has no objection to

this request.

WHEREFORE PREMISES CONSIDERED, Mr. Moore respectfully

requests that the Court order an examination to determine his competency to stand trial.

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Respectfully submitted,

dr)/L\L

Juni S Gang§i) g§i)(TN 018659)
Attorney for Defendant

40 South Main Street, Suite 1540
Memphis, TN 38103

(901) 544-9339

CERTIFICATE OF SERVICE

I do hereby certify that a copy of the foregoing document has been forwarded to
the Office of the United States Attorney, 167 North Main Street, Memphis, Tennessee
38103 on the 2“ci day of August, 2005.

Juni S. Gan i

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20155 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
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Ste. 800

Memphis7 TN 38103

Jurii S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

Memphis7 TN 38103

Honorable Jon McCalla
US DISTRICT COURT

